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RECEIVED
AUG ¢ 9 2016 UNITED STATES DISTRICT COURT
an OF f° WESTERN DISTRICT OF LOUISIANA

MONROE DIVISION

CRIMINAL No; _ 2°18-cr-00228-01

UNITED STATES OF AMERICA

21 U.S.C. § 841(a)(1) and (b)(1)(D)

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VERSUS * 18 U.S.C. § 922(g)
* 18U.S.C. § 924(c)
*
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Judge Doughty

ROBERT E. ROBINSON Magistrate Judge Hayes

INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1
Distribution of Marijuana
[21 U.S.C. §§ 841(a)(1) and (b)(1)(D)]

On or about September 19, 2017, in the Western District of Louisiana, the
defendant, ROBERT E. ROBINSON did knowingly and intentionally distribute a
mixture or substance containing a detectable amount of marijuana, a Schedule |
controlled substance, all in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(D). [21 U.S.C. §§ 841(a)(1) and (b)(1)(D)].

COUNT 2
Distribution of Marijuana
[21 U.S.C. §§ 841(a)(1) and (b)(1)(D)]
On or about October 4, 2017, in the Western District of Louisiana, the

defendant, ROBERT E. ROBINSON did knowingly and intentionally distribute a

mixture or substance containing a detectable amount of marijuana, a Schedule I

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controlled substance, all in violation of Title 21, United States Code, Sections
841(a)(1) and (b)(1)(D). [21 U.S.C. §§ 841(a)(1) and (b)(1)(D)].
COUNT 3
Felon in Possession of a Firearm
[18 U.S.C. § 922(g)(1)]

On or about October 4, 2017, in the Western District of Louisiana, the
defendant, ROBERT E. ROBINSON, who having been convicted of a crime
punishable by imprisonment for a term exceeding one year, did knowingly possess in
and affecting interstate commerce, firearms, to-wit: (a) Smith & Wesson pistol, model
SD40VE, caliber .40; (b) ACP (Rock Island Armory) revolver, model: 206, caliber .38;
(c) Anderson pistol, model: AM-15, caliber .223, and ammunition, all in violation of
Title 18, United States Code, Section 922(g)(1). [18 U.S.C. § 922(g)(1)].

COUNT 4
Possession with Intent to Distribute Marijuana
[21 U.S.C. §§ 841(a)(1) and (b)(1)(D)]

On or about October 4, 2017, in the Western District of Louisiana, the
defendant, ROBERT E. ROBINSON did knowingly and intentionally possess with
the intent to distribute a mixture or substance containing a detectable amount of
marijuana, a Schedule I controlled substance, all in violation of Title 21, United
States Code, Sections 841(a)(1) and (b)(1)(D). [21 U.S.C. §§ 841(a)(1) and (b)(1)(D)].

COUNT 5
Possession of a Firearm in Furtherance of a Drug-Trafficking Crime
[18 U.S.C. § 924(c)]

On or about October 4, 2017, in the Western District of Louisiana, the
defendant, ROBERT E. ROBINSON, did knowingly possess firearms, to-wit: (a)
Smith & Wesson pistol, model SD40VE, caliber .40; (b) ACP (Rock Island Armory)

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revolver, model: 206, caliber .38; (c) Anderson pistol, model: AM-15, caliber .223, and
ammunition, in furtherance of a drug trafficking crime for which he may be
prosecuted in a court of the United States, to-wit: Possession with Intent to Distribute
a mixture or substance containing a detectable amount of marijuana, a Schedule I
controlled substance, as alleged in Count 4, all in violation of Title 18, United States
Code, Section 924(c)(1)(A). [18 U.S.C. § 924(¢)()(A)].

FORFEITURE ALLEGATION

The allegations in all counts are re-alleged and incorporated by reference for
the purpose of alleging forfeiture pursuant to the provisions of Title 21, United States
Code, Section 853, Title 18, United States Code, Section 924(d)(1) and Rule 32.2 of
the Federal Rules of Criminal Procedure.

A. Upon conviction of the controlled substance and firearms offenses
alleged and set forth above in this Indictment, the defendant, ROBERT E.
ROBINSON, shall forfeit to the United States all of their interest in:

1. Any property consisting or derived from proceeds the defendants
obtained directly or indirectly as the result of said violations as
set forth in this Indictment, which include the specific amounts
set forth below; and

2. Any property including firearms used or intended to be used in
any manner or part to commit or facilitate the commission of the

aforementioned violations.

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B.

By virtue of the firearms offenses charged in this Indictment, any and

all interest in the above-described property is vested in the United States and is

forfeited to the United States pursuant Title 21, United States Code, Section 853,

Title 18, United States Code, Section 924(d)(1) and Rule 32.2 of the Federal Rules of

Criminal Procedure.

C.

The property referred to in paragraphs A and B above includes, but is

not limited to, the following seized on October 4, 2017:

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15.

Smith & Wesson pistol, model SD40VE, caliber .40;
14 rounds of .40 ammunition;

ACP (Rock Island Armory) revolver, model: 206, caliber .38;
6 rounds of .88 ammunition;

Anderson pistol, model: AM-15, caliber .223;

30 rounds of .223 ammunition;

161 rounds of .38 ammunition;

22 rounds of 9mm ammunition;

291 rounds of .223 ammunition;

28 rounds of .40 ammunition;

1 round of .22 LR ammunition;

66 rounds of 7.62 ammunition;

16 rounds of 12 gauge ammunition;

10 rounds of .857 ammunition;

$2,565.00 in U.S. currency.

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All in accordance with Title 21, United States Code, Section 853, Title 18,

United States Code, Section 924(d)(1) and Rule 32.2 of the Federal Rules of Criminal

 

Procedure.
A TRUE BILL: DAVID C. JOSEPH
United States Attorney
REDACTED a
TGA Vasko
Grand Jury Foreperson BRIAN C. FLANAGAN, LA Bar #35125
Kw Assistant United States Attorney

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